                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:12-00219-4
                                               )   JUDGE SHARP
CHRISTINA LANDRUM                              )
                                               )

                                          ORDER


       Pending before the Court is the Motion to Continue Ms. Landrum’s Sentencing Hearing

(Docket No. 151) to which the Government does not oppose.

       The motion is GRANTED and the sentencing hearing set for Monday, September 16,

2013, is hereby rescheduled for Thursday, October 3, 2013, at 2:30 p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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